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                       EXHIBIT A
                     Case 23-10831-MFW             Doc 1000-2       Filed 02/21/24     Page 2 of 21
   Lordstown Motors Corp (DE)                                                                   120360.0001.8/4885739
   Lordstown Motors Corp.


                                               ITEMIZED SERVICES BILL

   Date:      Description:                                   Attorney:               Hours:    Rate:    Amount:

BKB - Investigation of Claims

01/02/2024    Retrieve entered order extending SEC bar       Giobbe, Cynthia           0.30   370.00    $ 111.00
              date (.1); calendar same (.1); coordinate      M.* (10258)
              service of same (.1)




01/04/2024    Review/file SEC bar date extension             Patterson,                0.40   720.00    $ 288.00
                                                             Morgan L. (2372)




01/04/2024    Email to/from R. Szuba regarding COC           Giobbe, Cynthia           0.60   370.00    $ 222.00
              regarding SEC bar date (.3); prepare COC       M.* (10258)
              regarding same (.2); email to M. Patterson
              and D. Detweiler regarding same (.1)




01/05/2024    Email (x2) to/from R. Szuba regarding SEC      Giobbe, Cynthia           0.20   370.00     $ 74.00
              bar date                                       M.* (10258)




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                     Case 23-10831-MFW            Doc 1000-2         Filed 02/21/24   Page 3 of 21
   Lordstown Motors Corp (DE)                                                                       120360.0001.8/4885739
   Lordstown Motors Corp.


01/31/2024   Prepare COC regarding SEC motion to              Giobbe, Cynthia         0.20    370.00         $ 74.00
             extend                                           M.* (10258)




                                                                                                            $ 769.00
                                                                                  Total for Task:

BKCO - Claims Objections

01/18/2024   Legal research and precedent regarding           Patterson,              4.10    720.00       $ 2,952.00
             equity objections (3.4); review/revise claim     Morgan L. (2372)
             objections (.7)




01/19/2024   Call with Fan He regarding claim objections      Patterson,              0.40    720.00        $ 288.00
                                                              Morgan L. (2372)




                                                                                                           $ 3,240.00
                                                                                  Total for Task:

BKD - Documentations/Plan Negotiation

01/02/2024   Review UST objection to confirmation             Patterson,              0.70    720.00        $ 504.00
                                                              Morgan L. (2372)




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                    Case 23-10831-MFW             Doc 1000-2         Filed 02/21/24   Page 4 of 21
  Lordstown Motors Corp (DE)                                                                   120360.0001.8/4885739
  Lordstown Motors Corp.


01/02/2024   Email (x2) to/from M. Patterson regarding        Giobbe, Cynthia         0.20   370.00     $ 74.00
             supplemental plan supplement                     M.* (10258)




01/11/2024   Call with David Turetsky regarding plan          Patterson,              0.50   720.00    $ 360.00
             objections                                       Morgan L. (2372)




01/16/2024   Calls (x2) with White and Case team              Patterson,              1.10   720.00    $ 792.00
             regarding confirmation issues (.8); multiple     Morgan L. (2372)
             correspondence with Court regarding hearing
             date scheduling for confirmation (.3)




01/18/2024   Draft and circulate confirmation hearing         Patterson,              0.40   720.00    $ 288.00
             re-notice                                        Morgan L. (2372)




01/19/2024   Review/revise and file notice of rescheduled     Patterson,              0.30   720.00    $ 216.00
             confirmation hearing                             Morgan L. (2372)




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                    Case 23-10831-MFW            Doc 1000-2       Filed 02/21/24   Page 5 of 21
  Lordstown Motors Corp (DE)                                                                120360.0001.8/4885739
  Lordstown Motors Corp.


01/24/2024   Multiple emails and meeting with M. Patterson   Detweiler,            0.20   845.00    $ 169.00
             regarding status of confirmation and SEC        Donald J.
             settlement                                      (10135)




01/24/2024   Call with co-counsel and Don Detweiler          Patterson,            0.40   720.00    $ 288.00
             regarding confirmation hearing scheduling       Morgan L. (2372)




01/25/2024   Multiple emails to and from White & Case        Detweiler,            0.20   845.00    $ 169.00
             Team regarding plan and plan supplement         Donald J.
             issues                                          (10135)




01/25/2024   Review exclusivity motion                       Patterson,            0.60   720.00    $ 432.00
                                                             Morgan L. (2372)




01/25/2024   Review email from R. Szuba and M. Patterson     Giobbe, Cynthia       1.10   370.00    $ 407.00
             regarding plan related filings (.2); prepare    M.* (10258)
             notice of confirmation hearing (.3); prepare
             notice of filing of second amended plan (.5);
             email (x2) to/from M. Patterson regarding
             same (.1)




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                     Case 23-10831-MFW                Doc 1000-2           Filed 02/21/24   Page 6 of 21
   Lordstown Motors Corp (DE)                                                                             120360.0001.8/4885739
   Lordstown Motors Corp.


01/29/2024   Email (x2) to F. He regarding exclusivity              Giobbe, Cynthia         0.60    370.00        $ 222.00
             motion (.1); email to M. Patterson regarding           M.* (10258)
             same (.1); prepare notice (.1); prepare
             motion, exhibits for filing (.1); efile same (.1);
             coordinate service of same (.1)




01/31/2024   Review/circulate notice of blackline of plan           Patterson,              3.10    720.00       $ 2,232.00
             (.2); review/revise and file further modified          Morgan L. (2372)
             plan (2.1); review/file blackline of plan (.8)




01/31/2024   Revise notice of blacklines regarding second           Giobbe, Cynthia         2.90    370.00       $ 1,073.00
             amended modified plan (.2); email to M.                M.* (10258)
             Patterson regarding same (.1); email (x5)
             to/from D. Detweiler, M. Patterson and R.
             Szuba regarding second modified plan (.4);
             prepare plan for filing (1.0); prepare notice of
             blackline for filing (.9); efile same (.2);
             coordinate service of same (.1)



                                                                                                                 $ 7,226.00
                                                                                        Total for Task:

BKE - Executory Contracts/Lease Agreements

01/04/2024   Review CNO for rejection damages                       Patterson,              0.20    720.00        $ 144.00
                                                                    Morgan L. (2372)




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                    Case 23-10831-MFW             Doc 1000-2          Filed 02/21/24   Page 7 of 21
  Lordstown Motors Corp (DE)                                                                    120360.0001.8/4885739
  Lordstown Motors Corp.


01/04/2024   Email to/from White & Case team regarding         Giobbe, Cynthia         0.50   370.00    $ 185.00
             second omnibus rejection (.1); prepare CNO        M.* (10258)
             regarding same (.2); email to M. Patterson
             regarding same (.1); efile CNO, upload order
             (.1)




01/05/2024   Retrieve entered order regarding second           Giobbe, Cynthia         0.20   370.00     $ 74.00
             omnibus rejection (.1); coordinate service of     M.* (10258)
             same (.1)




01/12/2024   Email to/from F. He regarding motion to           Giobbe, Cynthia         0.20   370.00     $ 74.00
             extend deadline to assume or reject (.1);         M.* (10258)
             review same (.1)




01/17/2024   Review/revise motion to extend                    Patterson,              0.40   720.00    $ 288.00
             rejection/assumption deadline                     Morgan L. (2372)




01/19/2024   Review/revise and file motion to extend           Patterson,              0.50   720.00    $ 360.00
             deadline to assume or reject                      Morgan L. (2372)




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                      Case 23-10831-MFW               Doc 1000-2           Filed 02/21/24   Page 8 of 21
   Lordstown Motors Corp (DE)                                                                             120360.0001.8/4885739
   Lordstown Motors Corp.


01/19/2024    Email (x3) to/from M. Patterson regarding             Giobbe, Cynthia         0.70    370.00        $ 259.00
              motion to extend regarding 365(d)(4) (.1);            M.* (10258)
              prepare notice, motion, exhibits for filing (.4);
              efile same (.1); coordinate service of same
              (.1)




                                                                                                                 $ 1,384.00
                                                                                        Total for Task:

BKF - Fee Application/Monthly Billing

01/02/2024    Address revisions to Womble fee application           Patterson,              0.40    720.00        $ 288.00
                                                                    Morgan L. (2372)




01/03/2024    Revise WBD second monthly fee application             Giobbe, Cynthia         0.60    370.00        $ 222.00
              (.5); email to M. Patterson regarding same (.1)       M.* (10258)




01/04/2024    Address revised monthly fee application               Patterson,              0.40    720.00        $ 288.00
                                                                    Morgan L. (2372)




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                     Case 23-10831-MFW              Doc 1000-2        Filed 02/21/24   Page 9 of 21
   Lordstown Motors Corp (DE)                                                                         120360.0001.8/4885739
   Lordstown Motors Corp.


01/30/2024   Email to/from M. Patterson regarding WBD            Giobbe, Cynthia       1.20     370.00        $ 444.00
             third monthly fee application (.1); prepare         M.* (10258)
             same (1.1)




                                                                                                             $ 1,242.00
                                                                                    Total for Task:

BKFO - Fees of Others

01/02/2024   Review and file Jefferies fee application           Patterson,            0.20     720.00        $ 144.00
                                                                 Morgan L. (2372)




01/02/2024   Email to/from S. Ruben regarding second             Giobbe, Cynthia       1.30     370.00        $ 481.00
             monthly fee application of Jefferies (.1); email    M.* (10258)
             to D. Detweiler, M. Patterson and S. Ludovici
             regarding same (.3); prepare notice (.2);
             review monthly application (.3); prepare
             application, exhibits and notice for filing (.1);
             efile same (.1); coordinate service of same
             (.1); calendar deadlines (.1)



01/08/2024   Prepare CNO regarding Baker's fourth                Giobbe, Cynthia       0.30     370.00        $ 111.00
             monthly fee application (.2); email to S.           M.* (10258)
             Ludovici regarding same (.1)




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                    Case 23-10831-MFW             Doc 1000-2          Filed 02/21/24   Page 10 of 21
  Lordstown Motors Corp (DE)                                                                     120360.0001.8/4885739
  Lordstown Motors Corp.


01/09/2024   Review/file OCP statement                         Patterson,              0.20   720.00     $ 144.00
                                                               Morgan L. (2372)




01/09/2024   Prepare notice regarding KCC fifth monthly        Giobbe, Cynthia         1.90   370.00     $ 703.00
             fee application (.1); prepare application for     M.* (10258)
             filing (.1); email to D. Detweiler regarding
             same (.1); efile same (.1); calendar deadline
             (.1); email to KCC team regarding same (.1);
             prepare CNO regarding KPMG combined
             third monthly fee application (.2); prepare
             CNO regarding Silverman fifth monthly fee
             application (.2); prepare notice regarding
             OCP statement (.3); email to S. Ludovici
             regarding same (.1); efile OCP statement (.2);
             efile CNO regarding Baker fourth monthly fee
             application (.1); email to M. VanNiel regarding
             same (.1); email to S. Ludovici regarding
             KPMG third monthly fee application (.1)

01/10/2024   Review/file Baker fee application                 Patterson,              0.20   720.00     $ 144.00
                                                               Morgan L. (2372)




01/10/2024   Efile KPMG CNO regarding third combined           Giobbe, Cynthia         0.30   370.00     $ 111.00
             monthly fee application (.1); email to KPMG       M.* (10258)
             team (.1); email to C. Tsitsis regarding CNO
             regarding Silverman fifth monthly fee
             application (.1)




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                    Case 23-10831-MFW              Doc 1000-2           Filed 02/21/24   Page 11 of 21
  Lordstown Motors Corp (DE)                                                                       120360.0001.8/4885739
  Lordstown Motors Corp.


01/11/2024   Efile CNO regarding Silverman fifth monthly         Giobbe, Cynthia         0.10   370.00      $ 37.00
             fee application; email to C. Tsitsis regarding      M.* (10258)
             same




01/12/2024   Email to/from S. Ludovici regarding White &         Giobbe, Cynthia         0.60   370.00     $ 222.00
             Case fifth monthly fee application (.1);            M.* (10258)
             prepare notice regarding same (.1); prepare
             same for filing (.1); efile (.1); coordinate
             service of same (.1); calendar deadlines (.1)




01/22/2024   Review/file Silverman fee application               Patterson,              0.30   720.00     $ 216.00
                                                                 Morgan L. (2372)




01/22/2024   Prepare certificate of no objection regarding       Giobbe, Cynthia         0.30   370.00     $ 111.00
             Jefferies second monthly fee application (.2);      M.* (10258)
             email to S. Ludovici regarding same (.1)




01/22/2024   Email (x2) to/from S. Ludovici regarding fee        Giobbe, Cynthia         1.70   370.00     $ 629.00
             applications (.2); prepare notice regarding         M.* (10258)
             Silverman sixth monthly fee application (.2);
             prepare notice, exhibits, application for filing
             (.1); efile same (.1); prepare notice regarding
             Baker fifth monthly fee application (.2);
             prepare notice, application, exhibits for filing
             (.1); efile same (.1); prepare notice regarding
             KPMG fourth monthly fee application (.2);
             prepare notice, exhibits, application for filing
             (.1); efile same (.1); coordinate service of

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                    Case 23-10831-MFW                Doc 1000-2          Filed 02/21/24     Page 12 of 21
   Lordstown Motors Corp (DE)                                                                               120360.0001.8/4885739
   Lordstown Motors Corp.


             applications (.1); email (x2) to D. Detweiler
             and M. Patterson (.1); efile Baker notice of
             rate increase (.1)




01/29/2024   Prepare CNO regarding KCC fifth monthly fee            Giobbe, Cynthia          0.40     370.00        $ 148.00
             application (.2); email to S. Ludovici (.1); email     M.* (10258)
             to KCC team (.1)




01/31/2024   Email to/from D. Detweiler regarding KCC               Giobbe, Cynthia          0.80     370.00        $ 296.00
             sixth monthly fee application (.1); prepare            M.* (10258)
             notice regarding same (.1); prepare
             application, notice, exhibits for filing (.2); efile
             same (.1); calendar deadlines (.1); coordinate
             service of same (.1); prepare CNO regarding
             White & Case fifth monthly fee application (.1)




                                                                                                                   $ 3,497.00
                                                                                          Total for Task:

BKG - General Case Administration

01/09/2024   Revise critical dates calendar                         Giobbe, Cynthia          0.30     370.00        $ 111.00
                                                                    M.* (10258)




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                    Case 23-10831-MFW              Doc 1000-2           Filed 02/21/24     Page 13 of 21
   Lordstown Motors Corp (DE)                                                                              120360.0001.8/4885739
   Lordstown Motors Corp.


01/19/2024   Email to W&C and WBD team regarding                 Giobbe, Cynthia            0.30     370.00        $ 111.00
             docket distribution (.1); retrieve ECF filings      M.* (10258)
             (.2)




01/21/2024   Calendar numerous deadlines (.4); revise and        Giobbe, Cynthia            0.90     370.00        $ 333.00
             update critical dates calendar (.5)                 M.* (10258)




01/22/2024   Update critical dates calendar                      Giobbe, Cynthia            0.20     370.00         $ 74.00
                                                                 M.* (10258)




01/29/2024   Update critical dates calendar                      Giobbe, Cynthia            0.10     370.00         $ 37.00
                                                                 M.* (10258)




                                                                                                                   $ 666.00
                                                                                         Total for Task:

BKH - Court Hearings/Preparation/Agenda




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                    Case 23-10831-MFW            Doc 1000-2         Filed 02/21/24   Page 14 of 21
  Lordstown Motors Corp (DE)                                                                   120360.0001.8/4885739
  Lordstown Motors Corp.


01/02/2024   Revise 1/10/24 hearing agenda                    Giobbe, Cynthia        0.40   370.00     $ 148.00
                                                              M.* (10258)




01/03/2024   Call with D. Turetsky regarding continuance of   Detweiler,             0.10   845.00      $ 84.50
             confirmation hearing                             Donald J.
                                                              (10135)




01/03/2024   Telephone call with L. Capp, Judge Walrath       Detweiler,             0.20   845.00     $ 169.00
             Deputy Courtroom Clerk regarding                 Donald J.
             continuance of January 10 confirmation           (10135)
             hearing




01/03/2024   Follow-up call with D. Turetsky regarding        Detweiler,             0.10   845.00      $ 84.50
             court permission to continue confirmation        Donald J.
             hearing                                          (10135)




01/04/2024   Revise (x3)1/10/24 hearing agenda (.5);          Giobbe, Cynthia        0.70   370.00     $ 259.00
             email (x4) to/from W&C and WBD teams             M.* (10258)
             regarding same (.2)




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                    Case 23-10831-MFW            Doc 1000-2           Filed 02/21/24   Page 15 of 21
  Lordstown Motors Corp (DE)                                                                     120360.0001.8/4885739
  Lordstown Motors Corp.


01/05/2024   Revise 1/10/23 hearing agenda                     Giobbe, Cynthia         0.20   370.00      $ 74.00
                                                               M.* (10258)




01/08/2024   Email (x6) to/from D. Turetsky, D. Detweiler      Giobbe, Cynthia         1.20   370.00     $ 444.00
             and M. Patterson regarding 1/10/24 agenda         M.* (10258)
             (.3); revise (x2) 1/10/24 agenda (.3); efile
             Agenda; register D. Detweiler, M. Patterson,
             D. Turestsky, J. Zakia and R. Kampfner for
             1/10/24 hearing (.3)




01/10/2024   Prepare for and attend status conference          Patterson,              1.60   720.00    $ 1,152.00
                                                               Morgan L. (2372)




01/10/2024   Assist in preparation of 1/10/24 hearing          Giobbe, Cynthia         0.50   370.00     $ 185.00
                                                               M.* (10258)




01/11/2024   Email to/from F. He regarding plan objection      Giobbe, Cynthia         0.30   370.00     $ 111.00
             extension (.1); update (x2) confirmation          M.* (10258)
             agenda (.2)




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                    Case 23-10831-MFW             Doc 1000-2         Filed 02/21/24   Page 16 of 21
  Lordstown Motors Corp (DE)                                                                    120360.0001.8/4885739
  Lordstown Motors Corp.


01/11/2024   Email to/from Reliable regarding 1/10/24          Giobbe, Cynthia        0.10   370.00      $ 37.00
             transcript                                        M.* (10258)




01/12/2024   Email to W&C and WBD team regarding               Giobbe, Cynthia        0.20   370.00      $ 74.00
             1/10/24 hearing transcript (.1); email to F. He   M.* (10258)
             regarding 1/25/24 omnibus hearing date (.1)




01/17/2024   Email (x2) to M. Patterson regarding hearing      Giobbe, Cynthia        0.10   370.00      $ 37.00
             dates                                             M.* (10258)




01/18/2024   Prepare 1/25/24 hearing agenda (.2); prepare      Giobbe, Cynthia        0.50   370.00     $ 185.00
             certification of counsel regarding 2/22/24        M.* (10258)
             hearing agenda (.2); email to M. Patterson
             regarding same (.1)




01/21/2024   Revise 2/22/24 hearing agenda                     Giobbe, Cynthia        0.40   370.00     $ 148.00
                                                               M.* (10258)




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                     Case 23-10831-MFW             Doc 1000-2         Filed 02/21/24     Page 17 of 21
   Lordstown Motors Corp (DE)                                                                            120360.0001.8/4885739
   Lordstown Motors Corp.


01/22/2024    Prepare 1/25/24 agenda for filing (.1); email to   Giobbe, Cynthia          0.50     370.00        $ 185.00
              M. Patterson regarding same (.1); efile            M.* (10258)
              Agenda (.1); coordinate service of same (.1);
              retrieve and coordinate service of omnibus
              hearing order (.1)




01/29/2024    Update 2/22/24 hearing agenda                      Giobbe, Cynthia          0.20     370.00         $ 74.00
                                                                 M.* (10258)




                                                                                                                $ 3,451.00
                                                                                       Total for Task:

BKLT - Litigation

01/17/2024    Review/revise motion to extend removal             Patterson,               0.30     720.00        $ 216.00
              deadline                                           Morgan L. (2372)




01/19/2024    Review and file December MORs                      Patterson,               0.40     720.00        $ 288.00
                                                                 Morgan L. (2372)




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                    Case 23-10831-MFW               Doc 1000-2         Filed 02/21/24   Page 18 of 21
  Lordstown Motors Corp (DE)                                                                      120360.0001.8/4885739
  Lordstown Motors Corp.


01/19/2024   Review/revise and file motion to extend             Patterson,             0.50   720.00     $ 360.00
             deadline to remove actions                          Morgan L. (2372)




01/19/2024   Email (x3) to/from M. Patterson regarding           Giobbe, Cynthia        0.70   370.00     $ 259.00
             motion to extend removal deadline (.1);             M.* (10258)
             prepare notice, motion, exhibits for filing (.4);
             efile same (.1); coordinate service of same
             (.1)




01/31/2024   Revise/circulate COC regarding resolution of        Patterson,             0.40   720.00     $ 288.00
             7023 motion and objections                          Morgan L. (2372)




01/31/2024   Review and circulate COC regarding                  Patterson,             0.40   720.00     $ 288.00
             stipulation for 7023 Motion                         Morgan L. (2372)




01/31/2024   Prepare certification of counsel regarding          Giobbe, Cynthia        0.90   370.00     $ 333.00
             settlement regarding parties regarding 7023         M.* (10258)
             claims (.8); email to M. Patterson regarding
             same (.1)




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                      Case 23-10831-MFW            Doc 1000-2         Filed 02/21/24     Page 19 of 21
   Lordstown Motors Corp (DE)                                                                            120360.0001.8/4885739
   Lordstown Motors Corp.


                                                                                                                $ 2,032.00
                                                                                       Total for Task:

BKRO - Retention of Others

01/10/2024     Email to/from M. VanNiel and M. Patterson        Giobbe, Cynthia           0.30     370.00        $ 111.00
               regarding supplemental declaration regarding     M.* (10258)
               Baker retention (.1); efile same (.1);
               coordinate service of same (.1)




                                                                                                                 $ 111.00
                                                                                       Total for Task:

BKRS - Reports and Schedules

01/19/2024     Prepare attestations (x3) regarding December     Giobbe, Cynthia           1.40     370.00        $ 518.00
               monthly operating reports (.3); prepare MORs     M.* (10258)
               (x3) for filing (.6); email to M. Patterson
               regarding same (.1); email to D. Kim regarding
               same (.1); efile MORs (.2); coordinate service
               to UST (.1)




                                                                                                                 $ 518.00
                                                                                       Total for Task:

                                                                                  Total for Services:          $ 24,136.00


        *    If an asterisk appears above, it designates a Legal Assistant or other non-lawyer professional.




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                       Case 23-10831-MFW            Doc 1000-2        Filed 02/21/24      Page 20 of 21
      Lordstown Motors Corp (DE)                                                                       120360.0001.8/4885739
      Lordstown Motors Corp.


  
                                                  TIMEKEEPER SUMMARY


Attorney:                                                                       Hours:             Amount:            Rate:

Patterson, Morgan L.                                                             18.40           $ 13,248.00        $ 720.00

Detweiler, Donald J.                                                               0.80             $ 676.00        $ 845.00

Giobbe, Cynthia M.*                                                              27.60           $ 10,212.00        $ 370.00

                                                              Totals:            46.80           $ 24,136.00


              * If an asterisk appears above, it designates a Legal Assistant or other non-lawyer professional.




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                    Case 23-10831-MFW             Doc 1000-2        Filed 02/21/24      Page 21 of 21
 Lordstown Motors Corp (DE)                                                                          120360.0001.8/4885739
 Lordstown Motors Corp.



                                     TASK SUMMARY BILLING INFORMATION
Task Code              Task Description                                                    Hours                 Amount
BKB                    Investigation of Claims                                               1.70                $ 769.00
BKCO                   Claims Objections                                                     4.50              $ 3,240.00
BKD                    Documentations/Plan Negotiation                                      12.30              $ 7,226.00
BKE                    Executory Contracts/Lease Agreements                                  2.70              $ 1,384.00
BKF                    Fee Application/Monthly Billing                                       2.60              $ 1,242.00
BKFO                   Fees of Others                                                        8.60              $ 3,497.00
BKG                    General Case Administration                                           1.80                $ 666.00
BKH                    Court Hearings/Preparation/Agenda                                     7.30              $ 3,451.00
BKLT                   Litigation                                                            3.60              $ 2,032.00
BKRO                   Retention of Others                                                   0.30                $ 111.00
BKRS                   Reports and Schedules                                                 1.40                $ 518.00
                                                                        Total               46.80             $ 24,136.00



                                         Use of Legal Support Service Providers

In an effort to continue delivering cost effective services, WBD (US) uses legal support service providers located both inside
and outside the U.S. to assist with help desk and technology issues, word processing, time entry, photocopying and other
administrative tasks. In order for these service providers to complete these tasks, we must share certain client information.
WBD (US) has made reasonable efforts to ensure that these services are performed in a manner that is consistent with our
firm’s obligations under the relevant Rules of Professional Conduct with regard to maintaining client confidentiality and
supervision of non-lawyer assistants, and the firm bears responsibility for the resulting work product. As part of the
engagement with the firm, you agree and consent to the use of the services of these providers in the manner stated above.




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